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Case 1:99-CV-02496-PLF Document 6269-1 Filed 06/07/18 Page 1 of 2

HOmB lhlfDS`-HUGMD|\QOV) ' Cl'ilf'lB in ihE LJ.S. (hlfp=rh'ur.rfhi.gnvfcrima-`ln-lhe-u.a) - 2015 (htlpu:I.'ur:.r.rbi.guvfnrimn_in.1hc.u r.f$"m¥;) 1 Crimn in mg U_S_ 2015 (nnpazlm¢r_mi_govrcrima-Jn-{he-
l2015fcrl \h-!h 2016} -Tr‘lbiu$ (hlfp ‘fl'ur: fh` vfc` ` ha- 912015! me-ln-tha-u`a.-2D‘|B.'tub\¢::¢) - T.-lb|r.15

        
     

        

   

   

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Tabla

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[14,554 agenciea; 2016 estimated population
282.233.499]

   

CM.HMB$ h $:flucr.fhi. mfcrima-in-tha-u.szMElcrime-ln-thE-u_a.-ZME!|:¢:» 1\'.:-

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‘ Overview
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Number of Percent change F¢r¢em Avoraga
Cla$$iflcation oNelr\$EB 2016 from 2016 \:|ia'-tri|:mtitm1 value

nimmer 14,774 +1.3 -
Rsapuez 100,373 - -

Rnbbery: Tutal 230,357 *1.7 100.0 $1,400

Robbery by lncat|an: StreeUhighway 103.957 -1.B 35.9 1,191

Cbmme=rcia| house 42.`.`¢'83 14.5 15.3 dl`BBE

1333 DI' $¢fvii.`-E 513.11¢)" B,'I?B +2.'1 2.9 B?D

Convan|ence store 17,401 +6.7 6.2 732

Rasidanca 45,419 +2.3 16.6 1.?58

Bank ‘ 4,982 +O.B 1.8 3.531

Misca||anaous 51 ,537 +5`0 18,4 1_367

Eurg|iry: Total '1,354,520 -4.4 100.0 2,3&1

El.ll'g|al'y by IDEMIDM Rl.'.sidonc:a (dwa||ing).' 942,‘|'?'." -7.1 59.5 2,?75

Residanc-a Night , ZTB,EC|C| -4.5 2G.B 1,9‘|3

Rc:sidcncc Day; ABS,OOE -E.E 35.9 2,258

Re$idence Unknnwn . 177.571 -?.1 13.1 2,579

Nnnres\dénce (slore. afric¢. ¢t¢\): 412.743 +2.6 30.5 2.562

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FBI _ Table 15 htl.ps;l/uer.lbi.gov/erims-in-the-u.s/?.Ol6/crime-in-the-u,s ,~2()16/top...
Case 1:99-CV-O2496-PLF Document 6269-1 Filed 06/07/18 Page 2 of 2

Number of Pereent change Pereent Averaga

Ctaeeifl¢e‘tiol'l offenses 2018 from 2015 distributinn‘ value
Nenresidenee Night 178,4?|2| +6.[} 13.2 2.585
Nonresldenr:e l')ay 142.53'| -D.t 1015 2_132
Nenrestdence Unl<nown 91.642 +o.? srs 3,109
Lsrceny-theft texcepl motor vehtcle theft}: Total 4.5?1,525 1 -1.3 100.0 see
Larceny-theft by type: Poeket-pieking 211,352 -0.4 0.5 646
F'urse-snat<:hing teresa -1.s 0.4 475
Shopllttlng 1.038.5?4 -s.'r 20.9 250
From meter vehicles cement oeoeeeoriee) 1,301.447 res 2s.2 sss
Nlotor vehicle accessories 366,048 +2.0 ?.d 541
Bicyc|es 162,547 -10.8 3.3 453
From buildings 533,553 -6_3 10.7 1,449
From coin-operated machines 1|],877 -B_E 0.2 607
f\ll others 1.514,559 -1.4 soto 1.649
Larear\y-thaft by valua: ever $200 2,255,253 -1`5 45_4 2.140
" ssa m secs 1.075.664 -4_3 zt.s 106
Llndr_~r sss 1,540.008 -ro.e ss.o 14
Meter vehicle theft 700.143 +6.9 - T,BBO

l 1 Eeoause of roundtng, the percentages may not add to 100_0_
l 2 The rope llgure tn this table is art aggregate total ofthe data submitted using both the rev|sed and tegaey |,,|nll'orm t,‘.rime Reportinq dennitione_ See the data declaration
for further explanation.

Data Dec|aration (https:llucr.fbl.govl'erime-in-the-u.s!2t;l1Elcrime-in-the-u.s.-EM Bltab|es
ltahle-15ltab|e-15.xlsl@@ternplate-layout-view'?override-view=data-cleelaratlon)

Providee the methodology used ||'t oottetreotirtg this table and other pertinent information about this tab|e.

Ctverview

 

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everview.pdi`)

offense Analye|s, Nurnber erie Percent Change, 2015-2015

d |n 2016. the average dollar value per motor vehicle stolen in the LJ.S` was $T,BBD, The average dollar value of property
taken during burglaries was $2,361; during robberies, $1,-¢|2||2|; end dur|ng |arr:¢ny-thefts_ $999_

l Ely locationl most burglariesl 69.5 percentl occurred et residences Most robbery oftenser,_ 383 pereent, occurred on
streets or highways

l |n 2015. the number of robbery offenses increased |n s|)< of the seven location categories when compared with the 2015
totels 'l`hese loeet|ot‘ls |ne|l-loee| eommereia| houses. gas or service stetions, convenience stores, reeit:|erteesl banker and
miscellaneous loeet|ot‘ts. `t't‘le number of robberies at convenience stores rose the moat, E.F percent

l |Vlost larceny-thefts (45.4 pereent) trtve|vet:l property valued at more than $20|].

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